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                                                                                 Page


  1

  2
                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
  3
                                 FOR THE COUNTY OF JACKSON
  4

  5   In the Matter of:

  6   HEIDI MARIE BROWN,                               Case No. 23CN05721

  7                        Petitioner,                 MOTION FOR CONTINUANCE FOR
                                                       ALLOWING RESPONDENT TO FIND
             and                                       NEW COUNSEL SPECIALIZED IN
  8
      ARNAUD PARIS,                                    INTERNATIONAL FBI ARREST AND
  9                                                    EXTRADITION ORDERS AND FOR
                                                       PENDING RECONSIDERATION OF
 10                        Respondent, Pro Per.        THE DISQUALIFICATION OF JUDGE
                                                       ORR FOR LACK OF IMPARTIALITY·
 11                                                    ORS 14.250

 12

 13
      I, Arnaud Paris, Respondent Pro Per in the above-captioned case, moves this court fo
 14
      an order allowing Father, respondent, to find a new counsel that would be specialized in
 15
      international FBI arrest and extradition orders and for the pending reconsideration of the
 16
      disqualification of Judge ORR for lack of impartiality in this matter per ORS 14.250 for the
 17
      following reasons:
 18
             1.     New developments in the Jackson County state court proceedings
 19
      happened last week that are making it impossible for Father to come to the USA anymore
 20
      and him being at risk of being extradited from France and with his children also being
 21
      detained by the police and also facing extradition from France which would have dramati
 22
      consequences on the children emotional and psychological well-being, especially in the
 23

 24


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  1   middle of their school year in Paris.

  2          2.     Indeed, on Friday February 23 rd , Mother's counsel filed in the Jackson

  3   County proceedings an Ex Parte International Arrest Order against Father asking for the

  4   participation of the FBI to obtain an extradition of both Father and the children from

  5   France. (See attached Exhibit 01 ). Mother's counsel followed Judge ORR's advice to file

  6   such an order during the hearing of December 28 th 2023 and it seems both the court and

  7   Miss Brown's counsel are using the Jackson County proceedings in bad faith to harass

  8   Respondent to the point of trying to have him arrested in France and his children taken

  9   into custody with the participation of the FBI so that the three of them be extradited to the

 10   US which would deprive Respondent from his parental right in his own country, granted

 11   to him by the Paris court on April 21"1, 2023 and that was confirmed by the Paris cou

 12   again in a second judgment on August 25 th , 2023, and this would also put the United

 13   States in violation of the Hague Convention of 1980 of which both France and the US

 14   are signatory of.

 15          3.     Therefore, in this context Father has to urgently find a counsel specialized

 16   in these kind of international arrest and extradition orders involving the FBI and he

 17   respectfully asks the court to take into consideration the psychological well-being of the

 18   children that is threatened by this court's actions in this context and to allow Father to

 19   care for them and for their protection in France and in the USA as well as protecting thei

 20   personal interest, that this court doesn't seem to have at heart, since they have no desire

 21   to be returned to the US in such a terrible context.

 22          4.     The children even shared with Father that they are now having nightmares

 23   of their Mother having them kidnapped and drugging them to force them to be returned
                                                   2
 24


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  1   to the US and this all is seems related to their Mother having shared with the children two

  2   weeks ago that the police "would come and get them in France and arrest their Father".

  3          5.     In this terrible context of psychological violence imposed onto the children

  4   by Mother and this court as well as the unusual and exceptional circumstance of a cou

  5   asking for an international arrest and extradition order with the help of the FBI in a famil

  6   matter, it is of the utmost importance that the interest of both Father and the children be

  7   preserved by allowing Father 90 days to find a counsel specialized in this kind o

  8   international FBI arrest and extradition orders towards a parent and his children.

  9          6.     Given that the UCCJEA in the US is a body of law made specifically to

 1O address this kind of situation and that it is literally impossible for a Judge to go against a

 11   custodial determination form a country like France, this situation has simply neve

 12   happened in the legal history of the United States. Therefore, finding a counsel that would

 13   have experience in this matter or something even remotely similar is extremely difficul

 14   and Father is asking the court for a continuance of at least 90 days to allow sufficient time

 15   to locate proper counsel that would also be available and willing to handle this kind o

 16   'unusual' matter to say the least, as it would also be involving the responsibility of the

 17   USA as a nation that this court is about to put in complete violation of the Hague

 18   Convention of 1980 that the US and France are a signatory of.

 19          7.     It is important to mention here that it is incredibly unusual that a state cou

 20   involved in a family matter as it is the case here decides to bring this matter to an

 21   international criminal level that would require the involvement of the FBI issuing an

 22   international arrest and extradition order having the USA become improperly involved in

 23   another sovereign nation's affairs and to 'bully' this nation to obtain something that Mathe
                                                   3
 24


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  1   seems to believe she couldn't obtain through the legal course of her appeals currently

  2   undergoing in France.

  3         8.      It is all the more concerning to see the Jackson County court taking such

  4   an aggressive and improper course of action considering that there is a perfectly well

  5   suited legal action that could be easily and rapidly activated in France through a Hague

  6   Action. It is actually the only logical remedy in the current situation, and it begs the

  7   question as to why the Jackson County court is being so aggressive and willing to 'bully'

  8   another nation into returning the children to the US? It is as if the Jackson County cou

  9   considered that it is a better court to deal with the French appeals of Mother than the

 10   actual appeal court of France ... Every single point and argument that Mother has made

 11   in the Jackson County court could and should be made in front of the appeal court o

 12   France. Why is it that Mother prefers to push for such an aggressive action through this

 13   court rather than using the proper return mechanism she could activate through a Hague

 14   Action in France or through her appeals to the French judgment in France? The onl

 15   possible answer is that she wants to circumvent the French judicial system onto French

 16   soil itself by bullying France as a nation through the involvement of the USA and the FBI

 17   as a result of this abusive and bad faith court's orders made in the clear intent to harass

 18   Father and the children.

 19

 20          Furthermore here are the other reasons why Respondent also feels it is

 21   important that this hearing be delayed considering the Motion for Reconsideration of

 22   Judge ORR's Disqualification per ORS 14.250 that was just filed on February 28 th with

 23   the Jackson County court and that will require a hearing to be properly administrated by
                                                  4
 24



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  1   the Judge assigned to hear this Motion and for him to present his legal argument with

  2   Respondent being allowed to attend this hearing remotely to have a chance to respond

  3   and object to such legal arguments during the hearing. This will be necessary for the

  4   proper administration of justice in this matter considering the gross denial of due

  5   process that has been happening against Respondent in the Jackson County court over

  6   the last 18 months. Here is the basis for asking for reconsideration of the motion to

  7   disqualify:

  8          On January 3rd 2024, I, Arnaud Paris, Respondent, Pro Per, filed a motion for

  9   disqualification of Judge Orr based on substantiated evidence, including court

 1O transcripts, that Judge Orr was so biased against Respondent in open-court to the point

 11   of making improper jokes about French people and the French judicial system while

 12   Respondent is a French National and brought in frontofthis court a French custody

 13   judgment that the court rejected while refusing due process to Respondent.

 14          Judge Orr has been assigned to this new contempt case 23CN05721 and in light

 15   of the evidence presented in the motion for disqualification filed on January 3rd with the

 16   Jackson County court, Respondent had clear ground to believe that he wouldn't be

 17   given a "fair and impartial trial or hearing" since Judge Orr had made improper jokes

 18   and comment about French people and the French judicial system in open court.

 19          Judge Bloom considered the motion for disqualification without Respondent

 20   being informed of him being assigned to review it and Judge Bloom denied that motion

 21   without any justification for the reason nor any legal basis for this denial.

 22          Respondent filed a motion on February 22nd to seek reconsideration of the

 23   decision from Judge Bloom to deny Respondent's previous motion for disqualification
                                                    5
 24


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  1   under ORS 14.250, asserting that the decision lacked legal justification and failed to

  2   adhere to required procedural protections. The main grounds for reconsideration were:

  3      •   Denial Lacks Statutory Basis: ORS 14.250 does not provide explicit grounds

  4          for a judge to reject a motion for disqualification without a substantive legal basis.

  5          The absence of a detailed denial from Judge Bloom indicates a procedural

  6          oversight and a deviation from the principles of law.

  7      •   Requirement for Legal Justification: A mere denial without citing specific legal

  8          reasons is insufficient and undermines the procedural integrity of the court. The

  9          law mandates that decisions, especially denials of motions for disqualification, be

 10          grounded in clear legal rationale.

 11      •   Insufficiency of Grounds for Denial: The denial of the motion without

 12          addressing the cited reasons for disqualification suggests an insufficiency of

 13          grounds, making the denial procedurally defective.

 14      •   Non-Compliance with Disqualification Law: By not following the clear

 15          mandate of ORS 14.250 regarding disqualification, the court has not adhered to

 16          the statutory requirement, raising concerns about impartiality and fair trial rights.

 17      •   Procedural Protection and Application of Law: The court's refusal to engage

 18          with the motion's arguments or to apply the law as required constitutes a failure

 19          to provide the most basic procedural protections to the parties involved.

 20   The decision made by Judge Bloom to deny the motion for disqualification without

 21   substantive justification not only contravened ORS 14.250 but also set a concerning

 22   precedent for the disregard of legal standards and procedural fairness. This is

 23   particularly troubling and concerning in light of the clear denial of due process and the
                                                    6
 24


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  1   judicial bias against Respondent that took place already in Judge Orr's courtroom. The

  2   absence of a reasoned explanation by Judge Bloom or reference to applicable law in his

  3   denial of Respondent's motion for disqualification undermines the judiciary's

  4   responsibility to operate within the bounds of established legal frameworks.

  5   In his motion for reconsideration, Respondent respectfully requested that the court:

  6      •   Reconsider and overturn the denial of the motion for disqualification of Judge Orr

  7      •   Provide a detailed legal justification for any decision made regarding this motion,

  8          in compliance with ORS 14.250 and the principles of due process.

  9   The integrity of the judicial process depends on adherence to the rule of law and

 1O procedural fairness. Therefore, Respondent request this court for a continuance of the

 11   show cause hearing set to happen on March 7th since the integrity and impartiality of

 12   Judge Orr is at question and Respondent feels he would be prejudiced by Judge Orr

 13   seating on this hearing for this crucial matter that could bear strong criminal

 14   consequences for Respondent as Judge Orr is not impartial in this matter.

 15   Furthermore, now

 16          I hereby declare that the above statement is true to the best of my knowledge

 17   and belief, and that I understand it is made for use as evidence in court and is subject to

 18   penalty for perjury of the laws in the state of Oregon.

 19   Prepared on February 29th 2024 in Paris and sent to the court by FEDEX

 20

 21   By:~
      ARNAUD PARIS, Respondent, Pro Per
 22   13 rue Ferdinand Duval ,
      75004, PARIS, FRANCE
 23   Telephone: +33688283641
      Email: aparis@sysmicfilms.com
                                                   7
 24



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  1                                  CERTIFICATE OF SERVICE

  2      I hereby certify that I served the foregoing MOTION FOR CONTINUANCE FOR
         ALLOWING RESPONDENT TO FIND NEW COUNSEL SPECIALIZED IN
  3      INTERNATIONAL FBI ARREST AND EXTRADITION ORDERS AND FOR
         PENDING RECONSIDERATION OF THE DISQUALIFICATION OF JUDGE ORR
 4       FOR LACK OF IMPARTIALITY - ORS 14.250 on the following party:

                                             Heidi Marie Brown
  5
                                              2256 Abbott Ave
                                            Ashland, OR 97520
  6
                                          heidimparis@gmail.com
                                                Respondent
  7
                                         Taylor L.M. Murdoch,
  8                                       Buckley Law P.C.
                                    5300 Meadows Road, Suite 200
  9                                    Lake Oswego, OR 97035
                                        TLM@buckley-law.com
 10                                Last Known Attorney for Respondent

      By the following method or methods:
 11
            by mailing full, true, and correct copies thereof in sealed, first class postage
 12   prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
      the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
 13   set forth below.

 14   X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
      shown above, which is the last known email address for the attorney(s) office, on the date set f rth
      below.
 15
           by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
 16   shown above, which is the last known fax number for the attorney(s) office, on the date set fort
      below. The receiving fax machines were operating at the time of service and the transmission
 17   properly completed.

             by selecting the individual(s) listed above as a service contact when preparing this electr nic
 18
      filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
      system.
 19
      : : • p ~ h 2024 in Paris and sent to the court by FEDEX
 20

 21

 22   ARNAUD PARIS, Respondent, Pro Per
      13 rue Ferdinand Duval
      75004, PARIS, FRANCE
 23   Telephone: +33688283641- Email: aparis@sysmicfilms.com
                                             8
 24


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                                                                                               EXHIBIT 01




  2

  3

  4                    IN THE CIRCUn' COURT OF THE STATE OF OREGON

  5                                FOR THE COUNTY OF JACKSON

  6

  7   In the Matter of:
                                                   )
  8   Heidi Marie Brown,                           )   Case No.: 22DR17285
                                                   )
  9
                            Petitioner,            )   ORDER FOR WAR.RANT IN LIEU OF
 10              and                               )   WRIT OF HABEAS CORPUS RE:
                                                   )   CUSTODY OF CHILDREN EVA AND
 11   Arnaud Paris,                                )   JULIETTE PARIS, AND ARREST OF
                                                   )   RESPONDENT, ARNAUD PARIS
 12                         Respondent.            )
                                                   )   [ORS 34.380 - 34.390)
 13
                                                   )
 14                                                    [EXPARTE]

 15

 16

 17
             THIS MATTER came before the Court on the Motion fir Warrant in Lie11 efHabeas
 18
      Corpus, filed by Petitioner, hereinafter Mother.
 19
             Upon review of the Motion, and good cause appearing, the Court makes the following
 20
 21   FINDINGS OF FACT:

 22   1. The children, Eva Paris and Juliette Paris, both age 9, are illegally imprisoned and

 23      restrained of the children's liberty in that Mother is the sole le1,>al custodian of the children.
 24   Page 1 _ ORDER FOR WARRANT IN LIEU OF WRIT OF                                Buckley Law PC
                                                                           5300 SW Meadows Rd., Ste. 200
      HABEAS CORPUS RE: CUSTODY OF CHILDREN EVA
 25                                                                            Lake Oswego, OR 97035
      AND JOLIETTE PARIS, AND ARREST OF RESPONDENT,                      Tel: 503-620-8900 Fax: 503-620--1878
      ARNAUD PARIS                                                               tlm@bucklcy-faw.com



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        2. This Court previously assumed UCCJEA jurisdiction pursuant co ORS 107.741(1)(b), and
  2          no other court has jurisdiction. It is appropriate that this court maintain jurisdiction.
   3
        3. Respondent, hereinafter Father has withheld the child from Mother against Mother's
  4
             wishes and without legal right.
   5
        4. The children were taken out of Oregon illegally and are held in illegal confinement and
   6
             custody by Father.
  7
   8.   5. The children were carried out of the state of Oregon before the children could be relieved

  9          by the issuing of a writ of habeas corpus.
 10     6. Mother's Motion is sufficient to justify the issuance of a warrant directed to any law-
 11
             enforcement officer of Oregon, authorizing and commanding the law-enforcement
 12
             agency to take thc children into custody, as soon as the children can be located, and to
  13
             bring the children before this court to be dealt with according to law.
 14
 15     7.   Mother's Motion is sufficient to justify the issuance of a warrant directed to any law-

 16          enforcement officer of Oregon, authorizing and commanding the law-enforcement

 n           agency to arrest Arnaud Paris, d.o.b. April 14, 1978, Respondent herein.
 18
                NOW THEREFORE, IT IS HEREBY ORDERED that a warrant issue under
  19
             the seal of the Jackson Court of Jackson County, Oregon, directed to the sheriff of
 20
             Jackson County, Oregon, commanding the law-enforcement officer to take Eva Paris, age
 21

 22          9 and Juliette Paris, age 9, into custody as soon as the children can be located and to bring

 23          the children before this court to be dealt with according to law. The extradition of the

 24     Page 2 _ ORDER FOR WARRANT IN LIEU OF WRIT OF                                Buckley Law PC
        HABEAS CORPUS RE: CUSTODY OF CHILDREN EVA                            5300 SW Meadows Rd., Ste. 200
 25                                                                              Lake Oswego, OR 97035
        AND JULIETTE PARIS, AND ARREST OF RESPONDENT,
                                                                           Tel: 503-620-8900 Fax: 503-620-4878
        ARNAUD PARIS                                                               tlm@buckley-law.com



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  1      children from France is authorized, and the assistance of the Federal Bureau of
  2      Investigation (F.B.I.) is authorized.
  3
             IT IS HEREBY FURTHER ORDERED that a warrant issue under the seal of the
  4
         Jackson Court of Jackson County, Oregon, directed to the sheriff of Jackson County,
  5
         Oregon, commanding the law-enforcement officer to arrest Arnaud Paris, d.o.b. April 14,
  6
  7      1978, and to place him in custody for taking and detaining the minor children in violation

  8      of law. The extradition of Father from France is authorized, and the assistance of the

  9      Federal Bureau of Investigation (F.B.I.) is authorized.
 10

 11

 12

 13

 14

 15
      UTCR 5.100 CERTIFICATE OF READINESS: This proposed order is ready for judicial
 16   signature because ORS 34.380 - ORS 34.390 permit the court to grant issuance of an order
      for a warrant in lieu of a writ of habeas corp{{s e.'C parte; on the terms of the pleading so filed.
 17

 18          DATED this~ayof ~,2024.

 19
 20                                                By:
                                                                                            No.11
 21

 22                                                                                er

 23

 24   Page 3 _ ORDER FOR WARRANT IN LIEU OF WRIT OF                               Buckley Law PC
      HABEAS CORPUS RE: CUSTODY OF CHILDREN EVA                           5300 SW Meadows Rd., Ste. 200
 25                                                                           Lake Oswego, OR 97035
      AND JULIETTE PARIS, AND ARREST OF RESPONDENT,
                                                                        Tel: 503-620-8900 Fax: 503-620-4878
      ARNAUD PARIS                                                              tlm@buckley-law.com



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   1
       SUBMITTED BY:
   2   Taylor L. M. Murdoch, OSB No. 111307
       of Attorneys for Respondent
   3   tlm@buckley-law.com
   4

   5

   6

   7
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 24    Page 4- ORDER FOR WARRANT IN LIEU OF WRIT OF                   Buckley Law PC
                                                               5300 SW Meadows Rd., Ste. 200
 25    HABEAS CORPUS RE: CUSTODY OF CHILDREN EVA
                                                                  Lake Oswego, OR 97035
       AND JULIETTE PARIS, AND ARREST OF RESPONDENT,         Td: 503-620-8900 Fax: 503-620-4878
       ARNAUD PARIS                                                tlm@buckley-law.com



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